     Case 8:20-cv-00633-DOC-ADS Document 1 Filed 04/01/20 Page 1 of 8 Page ID #:1




 1   Todd M. Friedman (SBN 216752)
     Adrian R. Bacon (SBN 280332)
 2   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3   21550 Oxnard St., Suite 780
     Woodland Hills, CA 91367
 4
     Phone: 323-306-4234
 5   Fax: 866-633-0228
 6
     tfriedman@toddflaw.com
     abacon@toddflaw.com
 7
 8   Attorneys for Plaintiff
 9
                         UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
     RICHARD DASCHBACH,                       ) Case No.
12   individually and on behalf of all others )
13   similarly situated,                      ) CLASS ACTION
                                              )
14   Plaintiff,                               ) COMPLAINT FOR VIOLATIONS
15                                            ) OF:
            vs.                               )
16
                                              ) 1. NEGLIGENT VIOLATIONS OF
                                                   THE TELEPHONE CONSUMER
17                                            )    PROTECTION ACT [47 U.S.C.
18   CALL TOOLS, INC.; DOES 1                 )    §227 ET SEQ.]
     through 10, inclusive,                   ) 2. WILLFUL VIOLATIONS OF THE
19                                                 TELEPHONE CONSUMER
                                              )    PROTECTION ACT [47 U.S.C.
20   Defendant(s).                            )    §227 ET SEQ.]
                                              )
21
                                              ) DEMAND FOR JURY TRIAL
22         Plaintiff, RICHARD DASCHBACH (hereinafter “Plaintiff”), on behalf of
23   himself and all others similarly situated, alleges the following upon information
24   and belief based upon personal knowledge:
25                               NATURE OF THE CASE
26         1.     Plaintiff brings this action for himself and others similarly situated
27   seeking damages and any other available legal or equitable remedies resulting
28   from the illegal actions of CALL TOOLS, INC. (hereinafter “Defendant”), in


                                   CLASS ACTION COMPLAINT
                                             -1-
     Case 8:20-cv-00633-DOC-ADS Document 1 Filed 04/01/20 Page 2 of 8 Page ID #:2




 1   negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular
 2   telephone in violation of the Telephone Consumer Protection Act, 47. U.S.C. §
 3   227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 4                                 JURISDICTION & VENUE
 5         2.        Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 6   a resident of New Hampshire, seeks relief on behalf of a Class, which will result
 7   in at least one class member belonging to a different state than that of Defendant,
 8   a company with its principal place of business in California and incorporated in
 9   the State of Nevada. Plaintiff also seeks up to $1,500.00 in damages for each call
10   in violation of the TCPA, which, when aggregated among a proposed class in the
11   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
12   Therefore, both diversity jurisdiction and the damages threshold under the Class
13   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
14   jurisdiction.
15         3.        Venue is proper in the United States District Court for the Central
16   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
17   because Defendant is headquartered and does business within the state of
18   California.
19                                          PARTIES
20         4.        Plaintiff, RICHARD DASCHBACH (“Plaintiff”), is a natural person
21   residing in New Hampshire, and is a “person” as defined by 47 U.S.C. § 153 (39).
22         5.        Defendant, CALL TOOLS, INC. (“Defendant” or “DEFENDANT”),

23   is a telecommunications and telemarketing company and is a “person” as defined

24
     by 47 U.S.C. § 153 (39).

25
           6.        The above named Defendant, and its subsidiaries and agents, are

26
     collectively referred to as “Defendants.” The true names and capacities of the

27
     Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are

28
     currently unknown to Plaintiff, who therefore sues such Defendants by fictitious



                                     CLASS ACTION COMPLAINT
                                               -2-
     Case 8:20-cv-00633-DOC-ADS Document 1 Filed 04/01/20 Page 3 of 8 Page ID #:3




 1   names. Each of the Defendants designated herein as a DOE is legally responsible
 2   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
 3   the Complaint to reflect the true names and capacities of the DOE Defendants
 4   when such identities become known.
 5         7.      Plaintiff is informed and believes that at all relevant times, each and
 6   every Defendant was acting as an agent and/or employee of each of the other
 7   Defendants and was acting within the course and scope of said agency and/or
 8   employment with the full knowledge and consent of each of the other Defendants.
 9   Plaintiff is informed and believes that each of the acts and/or omissions
10   complained of herein was made known to, and ratified by, each of the other
11   Defendants.
12                              FACTUAL ALLEGATIONS
13         8.      Beginning in or around July of 2019, Defendant contacted Plaintiff
14   on his cellular telephone ending in -7110, in an effort to sell or solicit services on
15   behalf of Complete Care Health Solutions, Inc.
16         9.      Defendant called on July 17, 2019, from a telephone number known
17   to belong to Defendant, (301) 763-6970.
18         10.     Defendant used an “automatic telephone dialing system”, as defined
19   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to sell or solicit its
20   business services.
21         11.     Defendant’s calls constituted calls that were not for emergency
22   purposes as defined by 47 U.S.C. § 227(b)(1)(A).

23         12.     Defendant’s calls were placed to telephone number assigned to a

24
     cellular telephone service for which Plaintiff incurs a charge for incoming calls

25
     pursuant to 47 U.S.C. § 227(b)(1).

26
           13.     Plaintiff is not a customer of Defendant’s services and has never

27
     provided any personal information, including his cellular telephone number, to

28
     Defendant for any purpose whatsoever.



                                    CLASS ACTION COMPLAINT
                                              -3-
     Case 8:20-cv-00633-DOC-ADS Document 1 Filed 04/01/20 Page 4 of 8 Page ID #:4




 1         14.    Defendant never received Plaintiff’s “prior express consent” to receive
 2   calls using an automatic telephone dialing system or an artificial or prerecorded
 3   voice on his cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
 4                                 CLASS ALLEGATIONS
 5         15.    Plaintiff brings this action on behalf of himself and all others similarly
 6   situated, as a member of the proposed class (hereafter “The Class”) defined as
 7   follows:
 8
                     All persons within the United States who received any
                     telephone calls from Defendant to said person’s
 9                   cellular telephone made through the use of any
10                   automatic telephone dialing system or an artificial or
                     prerecorded voice and such person had not previously
11                   consented to receiving such calls within the four years
12                   prior to the filing of this Complaint
13
14         16.    Plaintiff represents, and is a member of, The Class, consisting of all
15   persons within the United States who received any telephone calls from Defendant
16   to said person’s cellular telephone made through the use of any automatic
17   telephone dialing system or an artificial or prerecorded voice and such person had
18   not previously not provided their cellular telephone number to Defendant within
19   the four years prior to the filing of this Complaint.
20         17.    Defendant, its employees and agents are excluded from The Class.
21   Plaintiff does not know the number of members in The Class, but believes the
22   Class members number in the thousands, if not more. Thus, this matter should be
23   certified as a Class Action to assist in the expeditious litigation of the matter.

24         18.    The Class is so numerous that the individual joinder of all of its

25
     members is impractical. While the exact number and identities of The Class

26
     members are unknown to Plaintiff at this time and can only be ascertained through

27
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that

28
     The Class includes thousands of members. Plaintiff alleges that The Class



                                    CLASS ACTION COMPLAINT
                                              -4-
     Case 8:20-cv-00633-DOC-ADS Document 1 Filed 04/01/20 Page 5 of 8 Page ID #:5




 1   members may be ascertained by the records maintained by Defendant.
 2         19.    Plaintiff and members of The Class were harmed by the acts of
 3   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 4   and Class members via their cellular telephones thereby causing Plaintiff and
 5   Class members to incur certain charges or reduced telephone time for which
 6   Plaintiff and Class members had previously paid by having to retrieve or
 7   administer messages left by Defendant during those illegal calls, and invading the
 8   privacy of said Plaintiff and Class members.
 9         20.    Common questions of fact and law exist as to all members of The
10   Class which predominate over any questions affecting only individual members of
11   The Class. These common legal and factual questions, which do not vary between
12   Class members, and which may be determined without reference to the individual
13   circumstances of any Class members, include, but are not limited to, the
14   following:
15
                      a.     Whether, within the four years prior to the filing of this
16
                             Complaint, Defendant made any call (other than a call
17                           made for emergency purposes or made with the prior
18
                             express consent of the called party) to a Class member
                             using any automatic telephone dialing system or any
19                           artificial or prerecorded voice to any telephone number
20                           assigned to a cellular telephone service;
21
                      b.     Whether Plaintiff and the Class members were damages
22                           thereby, and the extent of damages for such violation;
                             and
23
24                    c.     Whether Defendant should be enjoined from engaging in
25                           such conduct in the future.
26
           21.    As a person that received numerous calls from Defendant using an
27
     automatic telephone dialing system or an artificial or prerecorded voice, without
28
     Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of


                                    CLASS ACTION COMPLAINT
                                              -5-
     Case 8:20-cv-00633-DOC-ADS Document 1 Filed 04/01/20 Page 6 of 8 Page ID #:6




 1   The Class.
 2         22.    Plaintiff will fairly and adequately protect the interests of the
 3   members of The Class. Plaintiff has retained attorneys experienced in the
 4   prosecution of class actions.
 5         23.    A class action is superior to other available methods of fair and
 6   efficient adjudication of this controversy, since individual litigation of the claims
 7   of all Class members is impracticable. Even if every Class member could afford
 8   individual litigation, the court system could not. It would be unduly burdensome
 9   to the courts in which individual litigation of numerous issues would proceed.
10   Individualized litigation would also present the potential for varying, inconsistent,
11   or contradictory judgments and would magnify the delay and expense to all parties
12   and to the court system resulting from multiple trials of the same complex factual
13   issues. By contrast, the conduct of this action as a class action presents fewer
14   management difficulties, conserves the resources of the parties and of the court
15   system, and protects the rights of each Class member.
16         24.    The prosecution of separate actions by individual Class members
17   would create a risk of adjudications with respect to them that would, as a practical
18   matter, be dispositive of the interests of the other Class members not parties to
19   such adjudications or that would substantially impair or impede the ability of such
20   non-party Class members to protect their interests.
21         25.    Defendant has acted or refused to act in respects generally applicable
22   to The Class, thereby making appropriate final and injunctive relief with regard to

23   the members of the California Class as a whole.

24                              FIRST CAUSE OF ACTION

25
            Negligent Violations of the Telephone Consumer Protection Act

26
                                     47 U.S.C. §227 et seq.

27
           26.    Plaintiff repeats and incorporates by reference into this cause of

28
     action the allegations set forth above.



                                     CLASS ACTION COMPLAINT
                                               -6-
     Case 8:20-cv-00633-DOC-ADS Document 1 Filed 04/01/20 Page 7 of 8 Page ID #:7




 1          27.   The foregoing acts and omissions of Defendant constitute numerous
 2   and multiple negligent violations of the TCPA, including but not limited to each
 3   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
 4          28.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
 5   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
 6   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 7          29.   Plaintiff and the Class members are also entitled to and seek
 8   injunctive relief prohibiting such conduct in the future.
 9                            SECOND CAUSE OF ACTION
10    Knowing and/or Willful Violations of the Telephone Consumer Protection Act
11                                  47 U.S.C. §227 et seq.
12          30.   Plaintiff repeats and incorporates by reference into this cause of
13   action the allegations set forth above.
14          31.   The foregoing acts and omissions of Defendant constitute numerous
15   and multiple knowing and/or willful violations of the TCPA, including but not
16   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
17   seq.
18          32.   As a result of Defendant’s knowing and/or willful violations of 47
19   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
20   $1,500.00 in statutory damages, for each and every violation, pursuant to 47
21   U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
22          33.   Plaintiff and the Class members are also entitled to and seek

23   injunctive relief prohibiting such conduct in the future.

24
     ///

25
     ///

26
     ///

27
     ///

28
     ///



                                   CLASS ACTION COMPLAINT
                                             -7-
     Case 8:20-cv-00633-DOC-ADS Document 1 Filed 04/01/20 Page 8 of 8 Page ID #:8




 1                                 PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff requests judgment against Defendant for the
 3   following:
 4                              FIRST CAUSE OF ACTION
 5          Negligent Violations of the Telephone Consumer Protection Act
 6                                   47 U.S.C. §227 et seq.
 7                • As a result of Defendant’s negligent violations of 47 U.S.C.
 8                 §227(b)(1), Plaintiff and the Class members are entitled to and request
 9                 $500 in statutory damages, for each and every violation, pursuant to
10                 47 U.S.C. 227(b)(3)(B); and
11                • Any and all other relief that the Court deems just and proper.
12
13                             SECOND CAUSE OF ACTION
14    Knowing and/or Willful Violations of the Telephone Consumer Protection Act
15                                   47 U.S.C. §227 et seq.
16                • As a result of Defendant’s willful and/or knowing violations of 47
17                 U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to and
18                 request treble damages, as provided by statute, up to $1,500, for each
19                 and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C.
20                 §227(b)(3)(C); and
21                • Any and all other relief that the Court deems just and proper.
22
23         Respectfully submitted this 1st day of April, 2020.

24
25
                                LAW OFFICES OF TODD M. FRIEDMAN, P.C.
                                     By: /s Todd M. Friedman
26                                       Todd M. Friedman
27                                       Law Offices of Todd M. Friedman
                                         Attorney for Plaintiff
28



                                    CLASS ACTION COMPLAINT
                                              -8-
